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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MICHAEL L. SHAKMAN and PAUL                    )
 M. LURIE, et al.,                              )
                                                )
                Plaintiffs,                     )
                                                ) No. 69 C 2145
                v.                              )
                                                ) Wayne R. Andersen
 THE CITY OF CHICAGO, et al.,                   ) District Judge
                                                )
                Defendants.                     )

                         MEMORANDUM, OPINION AND ORDER

       This case is before the Court on the motion of Patrick Burke to intervene in this matter

pursuant to Fed.R.Civ.P. 24. For the following reasons, the motion to intervene is denied.

                                        BACKGROUND

       In January 2006, following a thirty-seven year history of this litigation, named Plaintiffs

Michael Shakman and Paul Lurie filed their Second Amended Complaint in this case. The

Second Amended Complaint includes express class action allegations covering City of Chicago

employees, applicants and candidates. Comprehensive and complex settlement negotiations

began in earnest in the Shakman case in January 2006.

       Three months later, on April 25, 2006, Patrick Burke filed a Complaint in this Court in

the action of Burke, et al v. City of Chicago 06 C 2295. Burke brought his action individually

and on behalf of a class of persons similarly situated for alleged unfair hiring and promotional

practices on the part of the City of Chicago during the period from 1997-2005. On August 10,

2006, Burke filed an Amended Complaint seeking a finding in his case that the City violated the

Shakman Decree. On October 19, 2006, Burked moved to certify his case as a class action.
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       On March 22, 2007, Burke filed his motion to intervene in this case. Burke claims that he

should be allowed to intervene in the Shakman case because Plaintiffs in that case have not filed

a motion to certify the class. He believes that the Shakman Plaintiffs are seeking to represent the

same class of persons he has already sought to certify as a class and represent. Burke seeks to

intervene in this matter under the doctrine of permissive intervention pursuant to Fed.R.Civ.P.

24. The Shakman Plaintiffs object to the intervention on two primary grounds. First, they argue

that the motion to intervene is not timely. Second, the Shakman Plaintiffs argue that the motion

to intervene should be denied for equitable reasons.

                                            DISCUSSION

       Under the doctrine of permissive intervention, intervention may be allowed on a timely

application “when an applicant’s claim or defense and the main action have a question of fact in

common.” Fed.R.Civ.P. 24. Permissive intervention under Rule 24 is wholly discretionary.

Sokaogon Chippewa Community v. Babbitt, 214 F.3d 941, 949 (7th Cir. 2000).

       The Seventh Circuit considers the following factors to determine whether a motion to

intervene should be allowed: (1) the length of time the intervenor knew or should have known of

his interest in the case; (2) the prejudice caused to the original parties by the delay; (3) the

prejudice to the intervenor if the motion is denied; and (4) any other unusual circumstances. Id.

We will address each of these considerations in turn.

       The first factor considers the timeliness of the motion to intervene. The purpose of the

timeliness requirement “is to prevent a tardy intervenor from derailing a lawsuit within sight of

the terminal. As soon as a prospective intervenor knows or has reason to know that his interests

might be adversely affected by the outcome of the litigation he must move promptly to


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intervene." Sokaogon Chippewa Community, 214 F.3d at 949 (internal quotation marks and

citation omitted).

       In this case, the circumstances preclude a finding of timeliness. First, Burke knew or

should have known of his interest in this case at least a year before filing his motion to intervene.

The Second Amended Complaint in this action was filed in January 2006. That Complaint

included express class allegations covering City employees and applicants. Three months later,

on April 25, 2006, Burke filed political discrimination claims against the City. On August 10,

2006, Burke filed an amended complaint seeking, inter alia, a finding that the City violated the

"Shakman Decree." Amended Compl. Para. 3. There is no question that Burke was aware of the

present action, even if we ignore the first thirty-seven years of this case. Burke knew or should

have known that his rights were implicated by the present action no later than April 2006, yet he

did not seek to intervene in this lawsuit until March 22, 2007. For these reasons, analysis of the

first factor weighs against a finding of timeliness because Burke's motion to intervene comes

much too late.

       The second factor examines the prejudice caused to the original parties by the delay. In

this case, the original parties would be severely prejudiced if Burke is allowed to intervene. The

original parties litigated this case and negotiated a settlement based on the premise that all the

stakeholders were represented. Those litigation and negotiation efforts would be prejudiced by

the addition of a new party who seeks to substitute himself as class representative at this late

date. After months of difficult negotiations, the parties in this case have reached a settlement

that this Court has preliminarily approved. Therefore, allowing intervention now would

seriously risk derailing this case on the eve of final settlement approval, and the original parties


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would be greatly prejudiced by allowing Burke to step in at the eleventh hour.

       Third, Burke will not be prejudiced if intervention is denied. He will remain free, if he

chooses, to object to the settlement agreement and to opt-out and pursue his individual lawsuit

should the settlement be approved. It is unclear whether Burke has any real objection to the

pending settlement. His motion is conclusory and relies solely on the incorrect factual premise

that he asserted class allegations before the Shakman plaintiffs did. But if Burke actually does

disagree with the views of the settling parties, that dissent can be dealt with in the same ways

that dissent in any large class is usually accommodated. Among these are permitting active

participation as amicus and at hearings. See, e.g, Jenkins v. State of Missouri, 78 F.3d 1270, 1275

(8th Cir. 1996) (group of class members were properly denied intervention; district court made

other avenues available, through class counsel, the filing of amicus briefs, and by requesting

permission to testify at hearings); Twelve John Does v. District of Columbia, 117 F.3d 571,

575-76 (D.C. Cir. 1997) (group of class members properly denied intervention, having set up

procedure for such members to communicate regularly with class counsel); see also Gautreaux

v. Pierce, 690 F.2d 616, 635 (7th Cir. 1982) (district court properly denied intervention to

community group, particularly when it was permitted to present evidence at fairness hearing). In

this case, Burke is free to submit any objection or comments he wishes to the pending settlement.

Especially in light of these alternative avenues for Burke to voice his dissent, if in fact he has

any substantive dissent, there is no prejudice to him from denying intervention.

       The fourth and final permissive intervention factor allows the Court to consider “any

other unusual circumstances.” The long and tortuous history of this thirty-seven year litigation

and the number of individuals affected certainly qualifies as an “unusual circumstance” which


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lends against allowing late permissive intervention. See Aleut Corp. v. Tyonek Native Corp., 725

F.2d 527, 530 (9th Cir. 1984). While Burke's motion is conclusory, it seems to rest on the

unstated premise that, because he filed a class certification motion first, he and his counsel

would better serve as class representative and counsel than the current representatives and

counsel. Burke offers no basis for such a conclusion, and given the fact that the Shakman

Plaintiffs and counsel have given thirty-seven years of service and experience in this case, we

believe that the substitution Burke seeks would be inappropriate.

        In sum, we conclude that Burke’s intervention on the eve of settlement, after this Court

has preliminarily approved the Settlement Agreement and Accord and following thirty-seven

years of litigation, is not timely and that to permit it would severely prejudice the rights of the

original parties. Therefore, we deny Burke’s motion to intervene.

                                          CONCLUSION

        For the foregoing reasons, we deny the motion of Patrick Burke to intervene in this case.

(# 593).

It is so ordered.



                                               ___________________________________
                                                        Wayne R. Andersen
                                                     United States District Court

Dated: May 18, 2007




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